             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                CIVIL CASE NO. 1:12-cv-00125-MR
              [Criminal Case No. 1:09-cr-00013-MR-9]


YVONNE MARIE FOUNTAIN,                  )
                                        )
     Petitioner,                        )
                                        )
       vs.                              )     MEMORANDUM OF
                                        )     DECISION AND ORDER
UNITED STATES OF AMERICA,               )
                                        )
     Respondent.                        )
______________________________          )

     THIS MATTER is before the Court on Petitioner Yvonne Fountain’s

Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence

[Doc. 1]; Respondent’s Motion for Summary Judgment, as corrected [Docs.

14; 15]; Petitioner’s Motion for Evidentiary Hearing [Doc. 23]; Petitioner’s

Response to the Motion for Summary Judgment [Doc. 24]; and Petitioner’s

Motion to Amend/Correct Motion to Vacate [Docs. 25].

                       FACTUAL BACKGROUND

     In this motion to vacate, Petitioner Yvonne Marie Fountain seeks to

vacate her conviction and sentence for conspiracy to possess with intent to

distribute crack cocaine. Following an investigation that included wiretaps

and the execution of two search warrants, Petitioner’s co-defendant,



  Case 1:09-cr-00013-MR-WCM    Document 727    Filed 01/21/14   Page 1 of 30
Kenneth Lee Foster, was initially charged by criminal complaint on

February 6, 2009. [Criminal Case 1:09-cr-00013-MR-9, Doc. 1: Criminal

Complaint]. Eleven days later, on February 17, 2009, the Grand Jury for

the Western District of North Carolina indicted both Foster and Petitioner,

as well as thirteen other defendants, charging Foster, Petitioner and

Petitioner’s boyfriend, Dennis Lamar Bruton, with conspiracy to possess

with intent to distribute crack cocaine, in violation of 21 U.S.C. §§ 841(a)(1)

and 846 (Count One); and using a communication facility in committing and

in causing and facilitating the drug conspiracy, in violation of 21 U.S.C. §

843(b) (Count Two). [Id., Doc. 12: Indictment].

      With respect to Petitioner’s participation in the conspiracy, Asheville

Police Department Detective Jeffrey Rollins testified that he and other

officers began conducting surveillance of Petitioner’s residence in the

summer of 2007 and that officers later searched the trash from the

residence that Petitioner shared with Bruton and found clear plastic bags

with cocaine residue on them. [Id., Trial Tr. at 553-55]. In August 2008,

while Detective Rollins was conducting surveillance of Petitioner’s

residence, he saw Petitioner leave her residence and get into a gray Infiniti

parked outside of her home. [Id. at 558-59]. Petitioner sat in the car for

approximately two minutes and then “exited the vehicle with a large amount

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  Case 1:09-cr-00013-MR-WCM      Document 727     Filed 01/21/14   Page 2 of 30
of U.S. currency in her left hand.” [Id. at 559]. On that same date, Foster

was seen by officers at Petitioner’s and Bruton’s residence. [Id. at 559-60].

     Having learned that Foster’s supply source would be delivering

cocaine to Foster on February 5, 2009, officers obtained search warrants

for Foster’s residence and Petitioner’s and Bruton’s residence, executing

both warrants on the night of February 5, following that delivery. [Id. at

398-99].   During the search of Foster’s residence, agents seized large

quantities of currency from Foster’s jacket pockets, 31.7 grams of powder

cocaine on the stove, half a kilogram of powder cocaine on top of the

refrigerator, and four, individually wrapped bags containing a total of 156.6

grams of crack cocaine on the stove, among other items. [Id. at 399; 403;

607; 609-11; 614].

     At approximately the same time officers were executing a search at

Foster’s residence, other officers searched the residence of Petitioner and

Bruton. [Id. at 560]. During the search, agents conducted a forcible entry

after unsuccessfully trying to gain entry upon request.          [Id. at 562].

Numerous people were in the home, and when agents came to Petitioner’s

and Bruton’s bedroom door, it was blocked.         [Id.].   Officers ultimately

gained entry to the bedroom. After noticing another door and kicking it

open, officers saw Petitioner standing in her pajamas next to the toilet. [Id.

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  Case 1:09-cr-00013-MR-WCM     Document 727    Filed 01/21/14   Page 3 of 30
at 563-66]. Officers found approximately 76 grams of crack cocaine on the

toilet seat, in the toilet, and on the floor beside the toilet. [Id. at 569-70;

619; 621-22]. Additionally, officers seized from the bedroom approximately

$21,000 in cash and digital scales with cocaine residue. [Id. at 570-71].

Officers also seized a power bill in Petitioner’s name. [Id. at 572].

      Petitioner’s case was tried before a jury, the Honorable Lacy H.

Thornburg presiding.1        Following the presentation of the Government’s

case, Petitioner moved for judgment of acquittal based on the insufficiency

of the evidence. [Id. at 653-57; 759-60].2 The Government opposed the

motion as to Count One, but consented to the motion with respect to Count

Two, agreeing that there was no evidence of Petitioner’s use of a

communication facility during commission of the drug conspiracy. [Id. at

655-56]. The Court denied Petitioner’s motion with respect to Count One

but granted the motion as to Count Two. [Id. at 655-56].

      At the conclusion of four days of testimony, the jury found Petitioner

guilty of the drug conspiracy offense. [Id., Doc. 297: Fountain Verdict].


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  Following Judge Thornburg’s retirement in 2009, this case was assigned to the
undersigned.
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  The docket report in Petitioner’s criminal case is missing several volumes of the trial
transcripts. Therefore, page numbers cited here are to the actual trial transcript as
provided by the Government in its brief in support of the summary judgment motion,
rather than to the docket number and page in the docket report in this case, as specific
page numbers cannot be verified.
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    Case 1:09-cr-00013-MR-WCM        Document 727      Filed 01/21/14   Page 4 of 30
The jury also found that possession with intent to distribute more than 50

grams but less than 150 grams of crack cocaine was reasonably

foreseeable to her as a member of the conspiracy. [Id. at 1-2].

      Following the jury’s verdict, the Probation Office prepared a

Presentence Report (“PSR”). The probation officer calculated Petitioner’s

total offense level to be 30 and her criminal history category to be I. Based

on this total offense level and criminal history category Petitioner’s

guidelines range would have been 97-121 months. [Id., Doc. 306 at 6; 11:

PSR]. Petitioner, however, faced a statutory mandatory minimum term of

imprisonment of 240 months in light of her prior felony drug trafficking

conviction, for which the Government had given notice pursuant to 21

U.S.C. § 851.      Therefore, her applicable guidelines range was the

mandatory minimum of 240 months.          U.S.S.G. § 5G1.1(b). This Court

ultimately sentenced Petitioner to 240 months’ imprisonment, the statutory

mandatory minimum. [Id., Doc. 349: Judgment].

      Petitioner appealed, arguing on appeal that the evidence was

insufficient to support her conviction for participation in the charged

conspiracy; that this Court abused its discretion in denying her motion to

sever her trial from the trial of her co-defendants; and that the evidence did

not support the jury’s finding of a single conspiracy. The Fourth Circuit

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  Case 1:09-cr-00013-MR-WCM     Document 727    Filed 01/21/14   Page 5 of 30
affirmed this Court’s judgment on March 14, 2011.            United States v.

Fountain, 416 F. App’x 304 (4th Cir. 2011). Petitioner then filed a petition

for writ of certiorari with the Supreme Court, which petition was denied on

October 17, 2011. Fountain v. United States, 132 S.Ct. 218 (2011).

      Eight months later, on June 4, 2012, Petitioner filed the original

motion to vacate her conviction and sentence under 28 U.S.C. § 2255,

asserting twenty-nine issues and five grounds for relief.         [Doc. 1].   On

October 22, 2012, Petitioner filed a motion to amend her motion to vacate,

stating that of the twenty-nine issues and five grounds for relief in her

original motion to vacate, she had narrowed the motion to vacate to

fourteen issues and two grounds for relief. [Docs. 5; 6].

      Specifically, Petitioner asserts as her two grounds for relief: (1) a

claim for ineffective assistance of counsel and (2) a claim for a violation of

her due process rights. With respect to her ineffective assistance claim,

Petitioner claims that counsel was ineffective in: (1) failing to explain the

plea offer; (2) failing to inform Petitioner of the effect of a 21 U.S.C. § 851

notice; (3) failing to investigate and prepare exculpatory evidence,

discovery materials, and defense; (4) failing to request a competency

hearing; (5) failing to interview witnesses; (6) failing to challenge the jury

pool; (7) representing her while operating under a conflict of interest; (8)

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  Case 1:09-cr-00013-MR-WCM      Document 727    Filed 01/21/14   Page 6 of 30
failing to present a defense as promised in his opening statement; (9) not

allowing Petitioner to see the PSR; (10) failing to allow Petitioner to testify;

(11) failing to properly cross-examine witnesses; (12) failing to seek

disqualification of the judge; (13) failing to state legal reasons to support a

downward departure; (14) failing to let Petitioner know that she was eligible

for the safety valve; (15) failing to maintain contact with Petitioner; (16)

accepting the Government’s version of the case; and (17) failing to

represent her adequately at the suppression hearing. In support of her due

process claim, Petitioner contends that: (1) evidence was obtained

pursuant to an unreasonable search; (2) the Government failed to disclose

exculpatory evidence; (3) the jury was improperly selected; (4) the defense

was given insufficient time to prepare; and (5) the Court’s finding of

Petitioner’s base offense level was incorrect. [Doc. 5 at 7-8]. Petitioner

also contends that the Government presented false evidence to the Court

and to the grand jury in order to obtain an indictment against Petitioner.

[Doc. 6 at 48]. As part of this claim, Petitioner contends that she was never

part of the conspiracy and that all of the Government witnesses testified as

such at Petitioner’s trial. [Id.]. Finally, Petitioner further claims that she is

entitled to relief from the enhancement of her sentence under the Fourth

Circuit’s en banc decision in United States v. Simmons, 649 F.3d 237 (4th

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  Case 1:09-cr-00013-MR-WCM      Document 727     Filed 01/21/14   Page 7 of 30
Cir. 2011). [Doc. 6 at 50]. In her response to the Government’s summary

judgment motion, Petitioner, however, appears to abandon all of her claims

other than ineffective assistance, because she does not argue against the

granting of summary judgment on these claims in her response to the

Government’s motion. [Doc. 24].

   On May 6, 2013, the Government filed the pending summary judgment

motion.    [Doc. 14].3     In support of its summary judgment motion, the

Government has submitted the affidavit of Petitioner’s trial counsel,

Sherlock Grigsby. [Doc. 13-1: Grigsby Aff.]. On August 5, 2013, Petitioner

filed an additional motion to amend/correct her motion to vacate, citing the

United States Supreme Court’s recent ruling in Alleyne v. United States,

133 S.Ct. 2151 (2013).

                            STANDARD OF REVIEW

      Rule 56(a) of the Federal Rules of Civil Procedure provides:

             A party may move for summary judgment,
             identifying each claim or defense — or the part of
             each claim or defense — on which summary
             judgment is sought. The court shall grant summary
             judgment if the movant shows that there is no
             genuine dispute as to any material fact and the
             movant is entitled to judgment as a matter of law.
             The court should state on the record the reasons for
             granting or denying the motion.


3 The Government filed a corrected version of this motion the same day. [Doc. 15].
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   Case 1:09-cr-00013-MR-WCM        Document 727     Filed 01/21/14    Page 8 of 30
Fed. R. Civ. P. 56(a).       The rule further outlines the procedure for

responding to a motion for summary judgment:

            (c) Procedures

            (1) Supporting Factual Positions. A party asserting
            that a fact cannot be or is genuinely disputed must
            support the assertion by:

            (A) citing to particular parts of materials in the
            record,     including    depositions,     documents,
            electronically stored information, affidavits or
            declarations, stipulations (including those made for
            purposes of the motion only), admissions,
            interrogatory answers, or other materials; or

            (B) showing that the materials cited do not establish
            the absence or presence of a genuine dispute, or
            that an adverse party cannot produce admissible
            evidence to support the fact.

            (2) Objection That a Fact Is Not Supported by
            Admissible Evidence. A party may object that the
            material cited to support or dispute a fact cannot be
            presented in a form that would be admissible in
            evidence.

            (3) Materials Not Cited. The court need consider
            only the cited materials, but it may consider other
            materials in the record.

            (4) Affidavits or Declarations. An affidavit or
            declaration used to support or oppose a motion
            must be made on personal knowledge, set out facts
            that would be admissible in evidence, and show that
            the affiant or declarant is competent to testify on the
            matters stated.

Fed. R. Civ. P. 56(c).
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  Case 1:09-cr-00013-MR-WCM      Document 727    Filed 01/21/14   Page 9 of 30
        On a motion for summary judgment, the moving party has the burden

of production to show that there are no genuine issues of fact for trial.

Once the moving party has met that burden, the non-moving party has the

burden of persuasion to establish that there is a genuine issue for trial.

              When the moving party has carried its burden under
              Rule 56(c), its opponent must do more than simply
              show that there is some metaphysical doubt as to
              the material facts. Rather, the nonmoving party
              must come forward with “specific facts showing that
              there is a genuine issue for trial.” Where the record
              taken as a whole could not lead a rational trier of
              fact to find for the nonmoving party, there is no
              “genuine issue for trial.”

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87

(1986) (citations omitted; emphasis in the original) (quoting Fed. R. Civ. P.

56).

                                 DISCUSSION

I.      Petitioner’s Ineffective Assistance of Counsel Claims

        To establish a claim of ineffective assistance of counsel, a petitioner

must show that counsel’s performance fell below an objective standard of

reasonableness, and that she was prejudiced by such constitutionally

deficient representation. Strickland v. Washington, 466 U.S. 668, 687-92

(1984).      In measuring counsel’s performance, there is “a strong

presumption that counsel’s conduct falls within the wide range of

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     Case 1:09-cr-00013-MR-WCM   Document 727    Filed 01/21/14   Page 10 of 30
reasonable professional assistance.” Id. at 689.

      To demonstrate prejudice, Petitioner must show a probability that the

alleged errors worked to her “actual and substantial disadvantage, infecting

[her] entire trial with error of constitutional dimensions.” Murray v. Carrier,

477 U.S. 478, 494 (1986) (emphasis in original) (quoting United States v.

Frady, 456 U.S. 152, 170 (1982)). Under these circumstances, Petitioner

“bears the burden of proving Strickland prejudice.” Fields v. Attorney Gen.

of Md., 956 F.2d 1290, 1297 (4th Cir. 1992) (citing Hutchins v. Garrison,

724 F.2d 1425, 1430-31 (4th Cir. 1983)). If Petitioner fails to meet this

burden, “a reviewing court need not consider the performance prong.”

Fields, 956 F.2d at 1297 (citing Strickland, 466 U.S. at 697).

      In considering the prejudice prong of the analysis, the Court must not

grant relief solely because Petitioner can show that, but for counsel’s

performance, the outcome of the proceeding would have been different.

Sexton v. French, 163 F.3d 874, 882 (4th Cir. 1998). Rather, the Court “can

only grant relief under . . . Strickland if the ‘result of the proceeding was

fundamentally unfair or unreliable.’” Id. (quoting Lockhart v. Fretwell, 506

U.S. 364, 369 (1993)).

      Counsel is presumed to be competent, and a petitioner seeking

post-conviction relief bears a heavy burden to overcome this presumption.

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  Case 1:09-cr-00013-MR-WCM     Document 727    Filed 01/21/14   Page 11 of 30
Carpenter v. United States, 720 F.2d 546, 548 (8th Cir. 1983). Conclusory

allegations do not overcome the presumption of competency. Id.

      A.    Failure to explain plea offer and § 851 Notice.

      Petitioner   first   asserts   that    trial   counsel    provided    deficient

representation in failing to explain the Government’s plea offer to her and

failing to explain, in particular, that the Government had filed a § 851

information and that if she proceeded to trial, she could receive a sentence

of twenty years. First, the Court must examine the forecasts of evidence

presented by the parties to determine whether there is any genuine issue

as to any material fact. If there is, then an evidentiary hearing will be

necessary and summary judgment is not available.

      Petitioner’s attorney, Sherlock Grigsby, provided an affidavit, which

said in pertinent part:

            I explained the Government’s plea offer in length
            with Ms. Fountain. I explained to her that were she
            to be convicted she would face a mandatory twenty-
            year sentence in light of her previous conviction and
            the Government’s 851 notice. I made numerous
            trips from DC to Asheville in order to visit Ms.
            Fountain personally.      I personally advised Ms.
            Fountain of the Government’s 851 notice and
            discussed in detail with her the facts of her previous
            conviction. I explained to her that per the terms of
            the Government’s plea offer the government would
            withdraw the 851 notice if she were to accept the
            plea offer. I explained to her that per the plea offer
            she would face a mandatory minimum of ten years
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  Case 1:09-cr-00013-MR-WCM      Document 727        Filed 01/21/14   Page 12 of 30
             rather than the potential twenty years if she were to
             be convicted. I explained this in detail on every visit
             with Ms. Fountain. On at least one occasion
             Attorney Kevin McCants was present when I
             discussed Ms. Fountain’s legal options.

[Doc. 13-1 at 1].

       The only forecast of evidence the Petitioner offers in rebuttal comes

in her affidavit, in which she says as to this issue, “My attorney Sherlock

Grigsby never explained to me what a plea was. He offered me no advice

and that’s why I broke down crying. I did not understand the proceedings

against me.” [Doc. 24-1 at 1]. Curiously, Petitioner then shifts to speaking

of herself in the third person and states: “Petitioner recalls her counsel

telling her that they [were] not going to use [the] prior against her, and

that’s all she remembers.”4 [Id.].

       As such, the only thing Petitioner states she remembers her attorney

telling her about the plea agreement that was offered was the one most

salient point: if Petitioner accepted the agreement her prior conviction (and

hence the § 851 Notice) would not be used against her. She admits she

understood little else, and may even not have understood the importance of

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    Petitioner makes many arguments in her response to the government’s motion for
summary judgment, [Doc. 24], but she provided a forecast of evidence consisting only
of two short affidavits. [Docs. 24-1, 24-2]. This is notwithstanding the Court having
provided her with specific notice pursuant to Roseboro v. Garrison, 528 F.2d 309 (4th
Cir. 1975), of her need to confront the summary judgment motion with proper affidavits.
[Doc. 22 at 3-7].
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    Case 1:09-cr-00013-MR-WCM      Document 727      Filed 01/21/14   Page 13 of 30
the offered withdrawal of the § 851 Notice.        That, however, does not

address whether counsel had failed to meet the Strickland objective

standard.

      The Grigbsy affidavit remains, for all intents and purposes,

unrebutted. It shows that counsel’s conduct was well within the range of

reasonable professional assistance. In fact, Petitioner points to no defect

in Grigsby’s conduct. Her affidavit merely reflects that she did not fully

understand his explanation.      The Strickland standard, however, is an

objective one. It does not look to the client’s subjective understanding, but

rather to the attorney’s actions. Petitioner presents no forecast of evidence

that Grigsby’s counsel regarding the proposed plea agreement and the

effects of the § 851 Notice failed to meet that standard.

      B.    Failure to investigate available defenses and failure to
            interview witnesses.

      Petitioner next argues that trial counsel failed to investigate the case

against her, in particular failing to interview Dennis Bruton, failing to visit

her house to discover how the police entered her home and how big her

bathroom was, and failing to interview family members.               Petitioner,

however, presents no forecast of evidence to support this argument.

Petitioner’s own affidavit is silent on these issues. She provides an affidavit

of Dennis Bruton, but it, too, is silent on the issue of whether Grigsby
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  Case 1:09-cr-00013-MR-WCM     Document 727    Filed 01/21/14   Page 14 of 30
interviewed him.

      Mr. Grigsby, however, explains in his affidavit that he “personally

interviewed Dennis Bruton multiple times after [Bruton’s] Attorney gave

[Grigsby] permission to speak with [Bruton], as well as other members of

[Petitioner’s] family, including her father, her sister, and granddaughter.”

[Doc. 13-1 at 1]. Mr. Grigsby states that, after speaking with Mr. Bruton, he

considered calling him as a witness, but that “[a]fter considering the

potential credibility issues and after observing the government’s witnesses

and evidence at trial, [he] made the strategic decision not to call Mr. Bruton

as a witness.” [Id.]. Mr. Grigsby’s strategic decision not to call Bruton as a

witness was well within the wide range of reasonable professional

assistance allowed under Strickland. See Strickland, 466 U.S. at 689. Mr.

Grigsby’s affidavit also establishes that he interviewed members of

Petitioner’s family, notwithstanding her unsworn assertions to the contrary.

Even if Petitioner’s allegations were taken as true that Grigsby failed to

conduct these interviews, Petitioner has failed to show any prejudice. She

has identified nothing that these individuals could have offered that would

have refuted the fact that Petitioner was apprehended in her bathroom

attempting to flush a significant quantity of crack cocaine down the toilet.




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  Case 1:09-cr-00013-MR-WCM     Document 727    Filed 01/21/14   Page 15 of 30
       C.    Failure to request a competency hearing.

       Petitioner also asserts that trial counsel improperly failed to request a

competency hearing, given her lack of understanding of her case.                         In

support of this point Petitioner argues that she did not file her own motion

to vacate, relying instead on a “jail house lawyer” to do so. As Respondent

notes, many pro se litigants use “jailhouse lawyers” to assist them, and

Petitioner’s decision to do so does not support her assertion that she was

incompetent to stand trial. Additionally, in response to this allegation, Mr.

Grigsby states he “did not observe anything that would lead [him] to

independently request a competency hearing.”                 [Doc. 13-1 at 2].        Mr.

Grigsby also makes clear, as set forth above, that he did meet with

Petitioner’s family, yet he still never believed a competency hearing to be

warranted.      Without any indication that a competency hearing was

warranted, Petitioner has shown neither deficient representation nor

prejudice.

       D.    Failure to challenge the jury venire.

       Petitioner next alleges that trial counsel failed to challenge the lack of

African-Americans on the jury venire.5 Petitioner acknowledges, however,


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  Petitioner does not argue this claim in response to the Government’s summary
judgment motion; thus, in addition to the fact that the claim is without merit, Petitioner
has abandoned this claim.
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    Case 1:09-cr-00013-MR-WCM        Document 727      Filed 01/21/14    Page 16 of 30
that no African-Americans were ever presented as potential jurors.

Petitioner has not alleged any facts suggesting that Mr. Grigsby had the

opportunity but failed to secure the presence of African-Americans on the

jury. In addition, Petitioner cannot show prejudice, where the evidence of

her guilt was strong, and she cannot show that African-American jurors

would have been likely to vote to acquit her.

       E.     Conflict of Interest.

       Noting the friendship between Mr. Grigsby and Mr. Bruton’s trial

counsel, Kevin McCants, Petitioner next alleges that throughout his

representation of Petitioner, Mr. Grigsby acted under a conflict of interest,

as evidenced by Mr. Grigsby’s failure to call Mr. Bruton as a witness.

Although Mr. Grigsby acknowledges in his affidavit that he is friends with

Mr. McCants, he states unequivocally that this friendship “in no way

impacted [his] decision on whether or not to call Mr. Bruton as a witness,”

explaining again that he did not believe that calling Mr. Bruton as a witness

would have helped Petitioner and that he made the strategic decision not to

do so. [Doc. 13-1 at 2]. Given that Petitioner cites no other support for her

assertion that Mr. Grigsby operated under a conflict of interest, this claim,

too, fails.




                                      17

  Case 1:09-cr-00013-MR-WCM      Document 727   Filed 01/21/14   Page 17 of 30
      F.      Failure to present defense promised in opening statement.

      In another claim related to the failure to call Mr. Bruton as a witness,

Petitioner argues that Mr. Grigsby improperly failed to call Mr. Bruton as a

witness, even though in his opening statement he told the jury that they

would hear testimony from Bruton. Here, even though Mr. Grigsby may

have initially planned to call Mr. Bruton as a witness, his ultimate decision

not to call Mr. Bruton as a witness was reasonable, having been based on

the presentation of the Government’s evidence and Grigsby’s assessment

of the impact of that testimony. Finally, as with Petitioner’s other claims of

ineffective assistance of counsel, she presents nothing that would show

Strickland prejudice.

      G.      Failure to permit review of PSR.

      Petitioner next argues that trial counsel failed to permit her to review

her Presentence Report. In his affidavit, Mr. Grigsby refutes that assertion,

stating that although he had little time to respond to the PSR on Petitioner’s

behalf, he traveled to Asheville and met with Petitioner, specifically to

review and discuss the PSR with her before her sentencing proceeding.

[Doc. 13-1 at 2]. Mr. Grigsby states that he did not leave a copy with

Petitioner, but that he did review and discuss the PSR at length with

Petitioner.    [Id.].   Because of safety concerns related to information

                                      18

  Case 1:09-cr-00013-MR-WCM      Document 727    Filed 01/21/14   Page 18 of 30
frequently contained in PSRs, Mr. Grigsby’s decision not to leave the PSR

with Petitioner is consistent with a Bureau of Prisons regulation preventing

possession of PSRs by prisoners. In any event, Mr. Grigsby’s affidavit

establishes that he reviewed the substance of the PSR with Petitioner.

Additionally, although Petitioner argues that she might not have been found

guilty if she had reviewed the PSR, this claim has no merit because the

PSR was not prepared until after she was convicted and could not have

affected its result. Petitioner has shown neither deficient performance nor

prejudice by Mr. Grigsby.

       H.   Failure to permit Petitioner to testify.

       Asserting that Mr. Grigsby did not “let her testify,” Petitioner next

claims that counsel was ineffective because her testimony might have

altered the jury’s verdict. Mr. Grigsby states unequivocally in his affidavit,

however, that Petitioner “did not want to take the stand.” [Doc. 13-1 at 2].

Although this Court did not conduct an inquiry into Petitioner’s decision not

to testify, she was present when that inquiry was made of both of her co-

defendants, and Petitioner did not at any time state that she wished to

testify.

       Moreover, the evidence presented at trial was that Petitioner was

apprehended in her bathroom with a substantial quantity of crack cocaine

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  Case 1:09-cr-00013-MR-WCM     Document 727   Filed 01/21/14   Page 19 of 30
in her possession, in circumstances indicating she was trying to flush the

drugs down the toilet. Petitioner does not explain how her testimony would

likely have overcome this evidence and caused a reasonable probability

that the jury would have acquitted her. Petitioner does not even attempt to

make a proffer of what her testimony would have been. As such, Petitioner

cannot meet the prejudice prong of Strickland.

     I.     Failure to conduct adequate cross-examination.

     In the same section in which she asserts that Mr. Grigsby did not

permit her to testify, Petitioner also asserts that Mr. Grigsby failed

adequately to cross-examine the Government’s witnesses against her. For

instance, she suggests he should have asked why they were testifying

against her if they never knew her to be a part of the charged conspiracy,

whether she was ever present during a drug transaction, whether Mr.

Bruton lived with her, and whether Mr. Bruton had engaged in drug

transactions out of her home. [Doc. 6 at 37]. Petitioner does not identify

any witnesses who testified against her who were not adequately cross-

examined.    Furthermore, while the Government’s case against Kenneth

Foster    included   the   testimony   of   numerous     co-conspirators,    the

Government’s witnesses against Petitioner were all law enforcement

witnesses. The primary witness providing testimony against Petitioner was

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  Case 1:09-cr-00013-MR-WCM     Document 727     Filed 01/21/14   Page 20 of 30
Asheville Police Department Detective Jeffrey Rollins, who testified to

pulling trash from her residence and finding clear plastic bags with cocaine

residue on them, to conducting surveillance of Petitioner’s residence and

witnessing what appeared to be a drug transaction, and searching

Petitioner’s residence whereupon officers found Petitioner in her bathroom,

apparently trying to get rid of crack cocaine, of which 76 grams still

remained at the time she was caught. [See Criminal Case 1:09-cr-13-MR-

9, Trial Tr. at 438-57].     Mr. Grigsby cross-examined Detective Rollins

extensively, and there was no witness who testified to specific transactions

with Petitioner who would have merited the type of cross-examination

Petitioner suggests should have been presented. [Id. at 458-75]. Finally,

Petitioner cannot show that more extensive cross-examination of any

witness was likely to result in her acquittal.

      J.    Failure to argue in favor of a downward departure, and
            failure to discuss safety-valve eligibility with Petitioner.

      Next, Petitioner presents two claims of ineffective assistance of

counsel related to sentencing. First, Petitioner asserts that Mr. Grigsby

improperly failed to argue in favor of a downward departure below the

statutory mandatory minimum.        Second, Petitioner asserts that counsel

failed to explain her eligibility for relief from the mandatory minimum under

the safety valve. Both of these claims fail. First, with respect to counsel’s
                                       21

  Case 1:09-cr-00013-MR-WCM      Document 727    Filed 01/21/14   Page 21 of 30
failure to file a motion for downward departure, the only motion for

downward departure that would have enabled this Court to sentence

Petitioner below the 240-month mandatory minimum would have been a

motion based on Petitioner’s having provided the Government substantial

assistance, filed under 18 U.S.C. § 3553(e).       Thus, no motion filed by

Petitioner would have provided this Court with the authority to depart below

the mandatory minimum, and Mr. Grigsby did not provide deficient

representation in failing to file a futile motion. Additionally, Mr. Grigsby

makes clear in his affidavit that Petitioner “insisted she knew nothing about

the alleged conspiracy nor did she want to speak with the Government.”

[Doc. 13-1 at 3].     As Petitioner was not interested in assisting the

Government, and she claims she was unable to assist the Government, it is

not surprising that the Government did not file a motion for downward

departure based on her substantial assistance.

      Turning to her claim that Mr. Grigsby never advised her of the

availability of relief under the safety valve, Mr. Grigsby acknowledges in his

affidavit that he does not recall specifically discussing the safety valve with

Petitioner. [Id.]. However, Mr. Grigsby states that he advised Petitioner

“that providing all known information to the Government could help her.”

[Id.]. As noted above, Petitioner insisted that she did not know anything

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  Case 1:09-cr-00013-MR-WCM     Document 727    Filed 01/21/14   Page 22 of 30
about the alleged conspiracy and did not want to speak to the Government,

notwithstanding Mr. Grigsby’s advice to her that providing information to the

Government could help her. Accordingly, she cannot show that, even if Mr.

Grigsby failed specifically to discuss safety-valve relief with her, there is a

reasonable probability that she would have admitted her involvement in the

conspiracy and provided truthful and complete assistance. See U.S.S.G. §

5C1.2(a)(2) (requiring that the defendant, no later than the sentencing

hearing, has truthfully provided the Government with all information and

evidence concerning the offense or offenses). Petitioner, therefore, has not

shown either deficient representation or prejudice as to these sentencing-

related claims of ineffective assistance of counsel.

      K.    Failure to communicate issues for appeal.

      In her final claim of ineffective assistance of counsel against Mr.

Grigsby, Petitioner claims that he failed to communicate with her about her

appeal, notwithstanding her and her family’s attempts to contact him.

Petitioner asserts that if Mr. Grigsby had communicated with her, “she

could have addressed the fact that Dennis Lamar Bruton did not live with

her and his name was not on the lease,” and that she would have asked

Grigsby “to make an issue out of the fact that she was indicted and

somehow linked to the conspiracy through 4 phone calls made to and from

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  Case 1:09-cr-00013-MR-WCM     Document 727    Filed 01/21/14   Page 23 of 30
Ken Foster about playing gambling tickets.” [Doc. 6 at 45]. Neither of

these issues, however, concerns a claim that could properly be made on

appeal. These arguments are in the nature of challenging the findings of

fact made by the jury by arguing new facts, arguments that are not

cognizable on appeal, when the record is limited to the record before this

Court. Additionally, even if Mr. Bruton did not live with Petitioner and even

if his name was not on Petitioner’s lease, he was present when Petitioner’s

residence was searched at approximately 9:00 p.m. on February 4, 2009,

he was blocking the door at the time the officers finally gained entry into

Petitioner’s bedroom, and Petitioner was present and apparently attempting

to flush more than 76 grams of crack down the toilet. [See Criminal Case

1:09-cr-13-MR-9, Trial Tr. at 560-70].     This evidence would not have

exonerated Petitioner; therefore, it is unlikely any argument made on

appeal based on facts supporting these statements would have succeeded.

     With respect to the four phone calls that were recorded between

Petitioner and Mr. Foster, a law enforcement witness testified at trial that

the only phone calls between Petitioner and Mr. Foster appeared to relate

to gambling and were not related to drug-trafficking. That a Government

witness acknowledged during Petitioner’s trial that none of the four phone

calls between Petitioner and Mr. Foster was related to drug-trafficking also

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  Case 1:09-cr-00013-MR-WCM    Document 727    Filed 01/21/14   Page 24 of 30
refutes Petitioner’s argument that trial counsel should have admitted the

recordings of these phone calls to establish their lack of connection to the

charged conspiracy. Presenting this evidence on appeal, then, also would

not have assisted Petitioner. Because Petitioner has not suggested any

argument on appeal that was likely to succeed, she has not shown either

deficient representation or prejudice with respect to Mr. Grigsby’s appellate

representation of her.

     L.    Failure to provide adequate notice of suppression hearing.

     Petitioner also challenges the representation by former counsel, Jack

Stewart, who represented Petitioner during a hearing on her motion to

suppress the evidence seized during the search of her home. Specifically,

Petitioner asserts that she was not given adequate notice of the hearing

and that Mr. Stewart told Petitioner to be quiet and not say anything,

precluding her from explaining that Mr. Bruton was not on her lease or

giving “her version of the facts.” [Doc. 6 at 47]. With respect to her version

of the facts, Petitioner asserts that she was asleep when the officers

arrived to search her home, she ran to the bathroom because she was

afraid, the police never showed Petitioner any drugs seized from her

house, and her home was searched when she was not there. In support of

the legality of the search of Petitioner’s home, however, the Government

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  Case 1:09-cr-00013-MR-WCM     Document 727   Filed 01/21/14   Page 25 of 30
presented a copy of the search warrant, and none of the facts cited by

Petitioner calls into question the legality of the search warrant relied on by

officers in searching her home or the good-faith reliance on that warrant by

the officers who conducted the search. Petitioner has not shown either

deficient performance or prejudice, therefore, as to Mr. Stewart’s

representation related to her motion to suppress.

II.      Petitioner’s Simmons Claim

         Next, to the extent that Petitioner has not abandoned this claim by

failing to raise it in response to the Government’s summary judgment

motion, Petitioner’s Simmons claim fails as a matter of law because

Petitioner was previously convicted of selling a Schedule II controlled

substance, an offense for which she was sentenced to 13 to 16 months in

prison — an offense that is, by definition, punishable by more than one

year in prison. [See Criminal Case 1:09-cr-00013-MR-9, Doc. 306 at 8:

PSR]. Therefore, Petitioner is not entitled to relief under Simmons.

III.     Petitioner’s Motion to Amend to Assert an Alleyne Claim

         Finally, in a motion to amend her motion to vacate, Petitioner claims

that she is entitled to relief in light of the Supreme Court’s recent decision in

Alleyne v. United States. At the time of Petitioner’s sentencing either a

judge or jury could decide whether a defendant’s conduct met the

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      Case 1:09-cr-00013-MR-WCM   Document 727   Filed 01/21/14   Page 26 of 30
requirements for a mandatory minimum sentence. See Harris v. United

States, 536 U.S. 545 (2002). In Alleyne, the Supreme Court overruled

Harris, holding that a judge cannot make this decision unless the defendant

waives his right to a jury trial. Petitioner contends that, in light of Alleyne,

she was erroneously given a sentence enhancement under 21 U.S.C. §

851 based on her prior drug conviction.

      Petitioner’s motion to amend will be denied. The amendment of a

motion filed under Section 2255 is governed by Rule 15 of the Federal

Rules of Civil Procedure. See United States v. Pittman, 209 F.3d 314, 317

(4th Cir. 2000). Here, Petitioner filed her motion to amend more than one

year after her judgment became final. Thus, Petitioner’s motion to amend

is untimely under the one-year statute of limitations set forth in Section

2255(f). An otherwise untimely amendment, however, may relate back to

the date of the original Section 2255 motion if the newly asserted claim

“arose out of the conduct, transaction, or occurrence set forth or attempted

to be set forth in the original pleading.” Fed R. Civ. P. 15(c)(2). In order for

this Court to find that an otherwise untimely claim relates back, the

proposed amended claim must arise from the “same core facts,” and the

claim may not be dependent on events that are separate both in time and

in the substance of the facts upon which the original claims depended. See

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  Case 1:09-cr-00013-MR-WCM     Document 727     Filed 01/21/14   Page 27 of 30
Mayle v. Felix, 545 U.S. 644, 655-57 (2005). Here, Petitioner’s proposed

amended claim does not arise out of the “same core facts” as asserted in

her original petition.

       Section 2255(f)(3) provides an exception to the one-year statute of

limitations for claims based on a right “newly recognized by the Supreme

Court and made retroactively applicable to cases on collateral review.” A

claim based on Alleyne does not qualify under this exception.                           See

Simpson v. United States, No. 13-2373, 2013 WL 3455876, at *1 (7th Cir.

July 10, 2013). That is, the Supreme Court has not held that Alleyne is

retroactively applicable to cases on collateral review. In sum, Petitioner’s

motion to amend is untimely.6




6
 In any event, even if the motion to amend were timely, Petitioner would still not be
entitled to relief under Alleyne. Petitioner complains that her prior drug conviction was
never presented to the jury for purposes of the Section 851 enhancement. In
Almendarez–Torres v. United States, 523 U.S. 224 (1998), the Supreme Court held
that, for sentencing enhancement purposes, a defendant’s prior conviction does not
have to be alleged in the indictment or submitted to a jury and proven beyond a
reasonable doubt. 523 U.S. 224, 226-27. Significantly, Alleyne did not overrule
Almendarez–Torres. See Alleyne, 133 S.Ct. at 2160 n.1 (noting that “[i]n Almendarez–
Torres . . ., we recognized a narrow exception to this general rule for the fact of a prior
conviction. Because the parties do not contest that decision’s vitality, we do not revisit it
for purposes of our decision today.”).

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    Case 1:09-cr-00013-MR-WCM         Document 727       Filed 01/21/14    Page 28 of 30
                                CONCLUSION

        For the reasons stated herein, the Court finds that Petitioner’s claims

in her Section 2255 motion are without merit and the Court will, therefore,

grant summary judgment to Respondent.

        Finally, the Court finds that the Petitioner has not made a substantial

showing of a denial of a constitutional right. See generally 28 U.S.C. §

2253(c)(2); see also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in

order to satisfy § 2253(c), a “petitioner must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims

debatable or wrong”) (citing Slack v. McDaniel, 529 U.S. 473, 484-85

(2000).     Petitioner has failed to demonstrate both that this Court’s

dispositive procedural rulings are debatable, and that his Motion to Vacate

states a debatable claim of the denial of a constitutional right. Slack v.

McDaniel, 529 U.S. 473, 484-85 (2000). As a result, the Court declines to

issue a certificate of appealability.        See Rule 11(a), Rules Governing

Section 2255 Proceedings for the United States District Courts, 28 U.S.C. §

2255.




                                        29

  Case 1:09-cr-00013-MR-WCM      Document 727      Filed 01/21/14   Page 29 of 30
                                     ORDER

        IT IS, THEREFORE, ORDERED that:

1.      Respondent’s Motion for Summary Judgment, as corrected [Docs.

        14, 15] is GRANTED;

2.      Petitioner’s Motion for Evidentiary Hearing [Doc. 23] is DENIED; and

3.      Petitioner’s Motion to Amend/Correct Motion to Vacate [Doc. 25] is

        DENIED.

4.      Petitioner’s Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or

        Correct Sentence [Doc. 1] is DENIED and DISMISSED;

5.      The Court declines to issue a certificate of appealability.

        IT IS SO ORDERED.

                                  Signed: January 20, 2014




                                            30

     Case 1:09-cr-00013-MR-WCM     Document 727              Filed 01/21/14   Page 30 of 30
